Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 1 of 28 PageID #: 594



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 JOHN ROCK,                                        )
       Plaintiff,                                  )
                                                   )
        vs.                                        )     1:12-cv-1019-JMS-DKL
                                                   )
 NATIONAL COLLEGIATE ATHLETIC ASSOCIA-             )
 TION,                                             )
       Defendant.                                  )

                          ORDER DENYING MOTION TO DISMISS

        As Schoolhouse Rock teaches, three is a magic number. Bob Dorough, “Three Is a Mag-

 ic Number,” Schoolhouse Rock, ep. 1 (1973); see also Blind Melon, “Three is a Magic Number”

 (Atlantic Records 1996). Presently pending before the Court is Defendant National Collegiate

 Athletic Association’s (“NCAA”) Motion to Dismiss, [dkt. 47], arguing that Plaintiff John

 Rock’s Second Amended Complaint, [dkt. 46], is insufficient as a matter of law. This is the third

 time that this Court has ruled on the sufficiency of a plaintiff’s complaint challenging two

 NCAA bylaws at issue—the prohibition on multi-year scholarships and the cap on the number of

 allowable scholarships. This is the first time, however, that the Court concludes that the com-

 plaint at issue pleads the rough contours of a relevant market that is plausible on its face and in

 which anticompetitive effects of the challenged regulations could be felt. This ruling should not

 be read too broadly. The burdens at the subsequent stages of litigation are significantly higher

 than they are in opposing a motion to dismiss, and Mr. Rock may struggle to identify admissible

 evidence to support some of the allegations that the Court was required to accept as true for pur-

 poses of ruling on the NCAA’s motion. Nevertheless, because Mr. Rock has alleged sufficient

 factual allegations to support an antitrust claim that is plausible on its face, the Court denies the

 NCAA’s motion to dismiss.

                                                 -1-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 2 of 28 PageID #: 595



                                                   I.
                                       STANDARD OF REVIEW

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) asks whether the

 complaint “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is

 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009) (quoting Bell Atlantic Corp.

 v. Twombly, 550 U.S. 544, 570 (2007)). For the purposes of that rule, the Court will ignore con-

 clusory legal allegations. Iqbal, 556 U.S. at 678 (“Although for the purposes of a motion to dis-

 miss we must take all of the factual allegations in the complaint as true, we are not bound to ac-

 cept as true a legal conclusion couched as a factual allegation.”). The Court will, however, give

 the complaint the benefit of reasonable inferences from all non-conclusory allegations. See id.

                                                II.
                                            BACKGROUND

        Mr. Rock’s Second Amended Complaint is styled as a class action and asserts certain

 “class allegations” in addition to the allegations specific to him, [dkt. 46 at 21-24], but he has not

 filed a motion to certify a class. Because Mr. Rock is the only party with “legally protected in-

 terests in the litigation[,]” Agnew v. National Collegiate Athletic Ass’n, 683 F.3d 328, 333 n.2

 (7th Cir. 2012), the Court will focus on the allegations specific to him.

        A. Reasonable Inferences from Non-Conclusory Allegations

        The Court draws the following reasonable inferences from the non-conclusory allegations

 in Mr. Rock’s Second Amended Complaint.

        The NCAA includes 1,102 active member schools. [Dkt. 46 at 5 ¶ 10.] These schools

 are organized into three divisions, aptly named Divisions I, II, and III. [Id.] Division I football

 is further divided into two subdivisions—the Football Bowl Subdivision (“FBS”), which was




                                                 -2-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 3 of 28 PageID #: 596



 formerly known as Division 1-A, and the Football Championship Subdivision (“FCS”), which

 was formerly known as Division 1-AA. [Id. at 7 ¶ 17.]

        Mr. Rock challenges two NCAA bylaws in his Second Amended Complaint. First, he

 challenges the bylaw that prohibited1 awarding athletics-based financial aid in excess of one aca-

 demic year. [Id. at 13 ¶ 54 (quoting Bylaw 15.3.3.1 (“One-Year Period: If a student’s athletics

 ability is considered in any degree in awarding financial aid, such aid shall neither be awarded

 for a period in excess of one academic year nor for a period less than one academic year.”)).]

 Second, Mr. Rock challenges the NCAA bylaws that cap the total amount of athletics-based

 scholarships that member institutions can grant to student-athletes in football. [Id. at 16 ¶¶ 61-

 62.] The NCAA rules currently permit FBS teams to award 85 full scholarships and permit FCS

 teams to award 63 full scholarships. [Id. at ¶ 18.] Division II football programs can award 36

 full scholarships, and Division III programs are prohibited from awarding athletics based finan-

 cial aid. [Id. at ¶¶ 22, 24.] A typical NCAA football team has 100 players. [Id. at ¶ 22.]

        Mr. Rock is a United States citizen domiciled in Ohio. [Dkt. 46 at 4 ¶ 7.] Mr. Rock

 played football in high school, switching between the positions of running back, wide receiver,

 and quarterback. [Id. at 17 ¶ 68.] He was recruited by several colleges to play football, includ-

 ing both FBS and FCS schools. [Id. at 17-18 ¶ 69.] However, only four FCS schools, including

 Gardner-Webb University (“Gardner-Webb”) in North Carolina, extended official football schol-

 arship offers to Mr. Rock for 2008. [Id. at ¶¶ 69, 72.] Mr. Rock also received partial scholarship




 1
   This bylaw has been rescinded. [Dkt. 46 at 13 ¶ 54.] Because Mr. Rock seeks damages for ac-
 tions taken before the bylaw was rescinded, its repeal does not render this case nonjusticiable.
 See Agnew, 683 F.3d at 332 (“Since plaintiffs seek damages for prior actions taken by the NCAA
 and its member schools, the repeal of the multi-year scholarship prohibition does not render this
 case nonjusticiable.”).

                                                -3-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 4 of 28 PageID #: 597



 offers from Division II and National Association of Intercollegiate Athletics (“NAIA”) schools

 but did not seriously consider them. [Id. at 10 ¶ 40.]

         The Gardner-Webb head football coach, Steve Patton, “pledged to Mr. Rock that his

 scholarship would be renewed annually so long as he did well academically and remained eligi-

 ble for NCAA competition.” [Id. at 17-18 ¶ 69.] Additionally, Mr. Patton “verbally promised

 that his scholarship would still be honored in the event the current coaching staff departed for

 any reason.” [Id. at 18 ¶ 69.] Ultimately, in 2008, Mr. Rock committed to attend Gardner-Webb

 and play football. [Id. at ¶ 71.]

         By Mr. Rock’s junior year at Gardner-Webb, he was a team captain and the starting quar-

 terback. [Id. at 19 ¶ 74.] On January 26, 2011, Gardner-Webb named a new head football

 coach. [Id. at 20 at ¶ 78.] Mr. Rock was informed in writing in July 2011 that he would no

 longer receive his athletic scholarship. [Id. at ¶ 80.] Mr. Rock paid tuition and room and board

 out-of-pocket to graduate from Gardner-Webb in May 2012 with a degree in political science.

 [Id.]

         Mr. Rock alleges that in a competitive market not subject to the NCAA’s prohibition on

 multi-year scholarships and the cap on the total number of scholarships per team, he would have

 received additional or enhanced scholarship offers, including a multi-year scholarship. [Id. at 21

 ¶¶ 81-83.] Mr. Rock alleges that the challenged bylaws have no effect on amateurism and can-

 not be justified by competitive balance concerns. [Id. at 13 ¶ 55, 16 ¶¶ 63, 64.]




                                                -4-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 5 of 28 PageID #: 598



        B. Procedural History

        Mr. Rock filed his initial complaint against the NCAA on July 25, 2012.2 [Dkt. 1.] He

 filed a substantially similar Amended Complaint before the NCAA answered, [dkt. 20], and the

 NCAA moved to dismiss the Amended Complaint in response, [dkt. 21]. In that complaint, Mr.

 Rock alleged a relevant market consisting of “the nationwide market for the labor of student ath-

 letes,” [dkt. 20 at 9 ¶ 27], regardless of NCAA division or sport. The Court granted the NCAA’s

 motion to dismiss, in relevant part, after concluding that Mr. Rock had failed to allege a legally

 cognizable relevant market. [Dkt. 38 at 11-16.] The Court dismissed Mr. Rock’s claims without

 prejudice, but cautioned him that if he wanted this case to proceed, he must move to amend his

 complaint and “spend the time and undertake the potentially complicated task of the proper iden-

 tification of a relevant market.” [Id. at 23.]

        Mr. Rock subsequently moved to amend his complaint, [dkt. 39], which the NCAA op-

 posed, [dkt. 42]. The Court granted Mr. Rock’s motion and docketed the Second Amended

 Complaint as the operative complaint in this matter. [Dkts. 45; 46.]

        In his Second Amended Complaint, Mr. Rock alleges that the NCAA and its member in-

 stitutions have violated Section 1 of the Sherman Act by agreeing to restrict the number of schol-

 arships on a team and prohibiting multi-year scholarships. [Id. at 25-26 (citing 15 U.S.C. § 1).]

 He proposes the following relevant market in support of his allegations:

        The relevant market is the nationwide market for the labor of Division I football
        student athletes. In this labor market, student athletes compete for spots on Divi-
        sion I football athletic teams of NCAA member institutions, and NCAA member

 2
   Mr. Rock’s initial complaint was joined by two former Division III student-athletes who chal-
 lenged the NCAA’s rule prohibiting athletics-based financial aid in Division III athletics. The
 Court ultimately concluded that one of those plaintiffs failed to allege direct antitrust injury, [dkt.
 38 at 10-11], and that although the other had standing to challenge the rule, the prohibition on
 athletics-based financial aid in Division III athletics was presumptively procompetitive as a mat-
 ter of law, [id. at 22].

                                                  -5-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 6 of 28 PageID #: 599



         institutions compete for the best Division I football collegiate student athletes by
         paying in-kind benefits, namely, Division I football scholarships, academic pro-
         grams, access to training facilities, and instruction from premier coaches.

         NCAA Division I football is further divided into two subdivisions, D1-A, now
         known as FBS (Football Championship Series), and D1-AA, now known as FCS
         (Football Championship Subdivision). These subdivisions constitute distinct
         submarkets within the broader labor market for Division I football student ath-
         letes.

 [Dkt. 46 at 6 at ¶¶ 16-17 (paragraph numbers removed).] Mr. Rock contends that the NCAA by-

 laws he challenges “reduce the overall supply of football scholarships available to student-

 athletes thereby forcing them to accept far less compensation than they would have received for

 their labor.” [Id. at 21 ¶ 82.]

         The NCAA has again moved to dismiss Mr. Rock’s claims. [Dkt. 47.] In its order grant-

 ing the NCAA’s previous motion to dismiss Mr. Rock’s claims, the Court noted that Mr. Rock

 challenges the two NCAA bylaws that were at issue in Agnew v. National Collegiate Athletic As-

 sociation, 2011 U.S. Dist. LEXIS 98744 (S.D. Ind. 2011), affirmed by Agnew v. National Colle-

 giate Athletic Association, 683 F.3d 328 (7th Cir. 2012). Accordingly, the Court summarized

 what it believes to be the “key teachings” of the Seventh Circuit Court of Appeals’ decision in

 Agnew. [Dkt. 38 at 5-8.] The Court will continue to apply Agnew in the manner previously in-

 terpreted.

                                                III.
                                            DISCUSSION

         The NCAA asks the Court to dismiss Mr. Rock’s complaint for four reasons, which the

 Court reorders as follows. First, it argues that Mr. Rock lacks antitrust standing to challenge the

 NCAA bylaws at issue. Second, it contends that Mr. Rock fails to allege commercial activity

 subject to the Sherman Act. Third, it alleges that Mr. Rock’s proposed relevant market fails as a




                                                -6-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 7 of 28 PageID #: 600



 matter of law. Fourth, it argues that Mr. Rock fails to allege an anticompetitive effect on the

 proposed market.

        Mr. Rock opposes all of the NCAA’s arguments in his response and asks the Court to dis-

 regard certain data that the NCAA relied on to support its arguments. [Dkt. 50 at 28-31.] After

 the NCAA filed its reply brief, Mr. Rock filed a separate motion, asking the Court to exclude

 portions of that brief or to covert the NCAA’s motion into a motion for summary judgment and

 allow discovery. [Dkt. 54.] The NCAA opposes Mr. Rock’s motion to exclude. [Dkt. 56.]

        A. Motion to Exclude

        The issues raised in Mr. Rock’s motion to exclude must be resolved before the Court can

 turn to the merits of the NCAA’s motion to dismiss. Mr. Rock filed that motion pursuant to Fed-

 eral Rule of Civil Procedure 12(d), arguing that the NCAA had presented matters outside the

 pleadings that should be excluded or, alternatively, requesting that the NCAA’s motion be con-

 verted to a summary judgment motion. [Dkt. 54.] Mr. Rock challenges three categories of in-

 formation relied on by the NCAA: 1) a study that the NCAA attached to its motion to dismiss

 regarding the probability of student-athletes competing professionally in sports after college; 2)

 an additional NCAA bylaw not challenged by Mr. Rock’s antitrust claims but cited by the

 NCAA in its briefs; and 3) Internet data from the recruiting website www.rivals.com and select

 football rosters that the NCAA cites in its briefs.

        In response to Mr. Rock’s motion, the NCAA contends that it is appropriate to cite to ma-

 terials that were discussed in Mr. Rock’s Second Amended Complaint and that are central to his

 claims. [Dkt. 56 at 6.] Thus, the NCAA argues that because Mr. Rock challenges two of the

 NCAA Division I bylaws, the rest of the bylaws are also central to his antitrust claims. [Id.] The

 NCAA further emphasizes that Mr. Rock cited data from www.rivals.com in his complaint, thus



                                                  -7-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 8 of 28 PageID #: 601



 that data must also be central to his claim and appropriate to cite. [Id. at 7.] The NCAA also

 contends that the Court can consider market realities in ruling on its motion to dismiss, so infor-

 mation from various websites is relevant. [Id. at 7-9.] The NCAA urges the Court not to convert

 its motion into a motion for summary judgment and, instead, simply exclude any citations it

 deems improper. [Id. at 9-10.]

        If “matters outside the pleadings are presented to and not excluded by the court,” the mo-

 tion to dismiss “must be treated as one for summary judgment under Rule 56” and all parties

 “must be given a reasonable opportunity to present all the material that is pertinent to the mo-

 tion.” Fed. R. Civ. Pro. 12(d). It is well-settled, however, that the Court may consider “docu-

 ments attached to a motion to dismiss . . . if they are referred to in the plaintiff’s complaint and

 are central to his claim.” Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690 (7th

 Cir. 2012). If a document is not attached but is “incorporated into the complaint by reference” or

 “matters of which a court may take judicial notice,” the Court may also consider it when ruling

 on a motion to dismiss. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)

 (holding that in addition to the allegations in a complaint, the Court may examine “documents

 incorporated into the complaint by reference, and matters of which a court may take judicial no-

 tice” when evaluating a motion to dismiss). For instance, if the plaintiff alleges breach of con-

 tract without attaching the contract to the complaint, the defendant may properly introduce the

 contract or portions thereof as an attachment to a motion to dismiss. See, e.g., Chemtall GMBH

 v. ZR Energy, Inc., 320 F.3d 714, 718 n.4 (7th Cir. 2003).

        It is not acceptable for a defendant to submit documents in support of his motion to dis-

 miss that “would require discovery to authenticate or disambiguate.” Tierney v. Vahle, 304 F.3d

 734, 739 (7th Cir. 2002). For example, website printouts that are not central to the plaintiff’s



                                                -8-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 9 of 28 PageID #: 602



 claim “are not the type of documents that may properly be considered.” See, e.g., Facebook, Inc.

 v. Teachbook.com LLC, 819 F. Supp. 2d 764, 773 (N.D. Ill. 2011) (“While the nature of Face-

 book’s website and business is likely to play a role in this case, Teachbook has not demonstrated

 that this particular portion of Facebook’s website [that it attaches to its motion to dismiss] is cen-

 tral to Facebook’s claim. Indeed, allowing Teachbook to cherry pick portions of Facebook’s

 website to introduce via a motion to dismiss simply because the complaint implicates the two

 websites would convert an examination of the complaint into full-blown summary judgment

 analysis. This result would vitiate an otherwise narrow exception to the general rule that a mo-

 tion under Rule 12(b)(6) stands or falls based on the allegations in the complaint.”).

        First, the Court will not consider the study attached to the NCAA’s motion to dismiss re-

 garding the probability of student-athletes competing professionally in sports after college. [Dkt.

 48-1 at 8-10.] Mr. Rock challenges the impartiality of that study because the NCAA financially

 supported it. [Dkt. 50 at 28-29.] The NCAA does not respond to that argument or defend its ci-

 tations to the study. [Dkts. 53; 56.] The study is not within the category of extraneous infor-

 mation that can properly be considered on a motion to dismiss, so the Court will not consider it

 in ruling on the NCAA’s motion. [Dkt. 48-1 at 8-10.]

        Second, Mr. Rock challenges the NCAA’s citation to Bylaw 18.7.2.1.1, which he does

 not challenge in this litigation and which provides that “[e]ach year, a Football Bowl Subdivision

 institution may count one victory against a Football Championship Subdivision opponent toward

 meeting the definition of a ‘deserving team,’” for purposes of postseason bowl games. [Dkt. 53

 at 11 n.5.] Mr. Rock does not challenge the accuracy of the cited rule, but he argues that the

 NCAA “then offers a conclusion blatantly leaping beyond that extrinsic material” when it asserts

 that because of that rule, FBS football teams “therefore rarely play more than one FCS team per



                                                 -9-
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 10 of 28 PageID #: 603



  season.” [Dkt. 54 at 4 (citing dkt. 53 at 11 n.5)).] The Court disagrees with Mr. Rock’s implica-

  tion that the NCAA should not have cited the rule at all, since the interaction between the FBS

  and FCS subdivisions is central to Mr. Rock’s claim. The Court agrees with Mr. Rock, however,

  that it was improper for the NCAA to then make the unsupported leap that because of that rule,

  most FBS teams only play one FCS team per season. Accordingly, while the Court will consider

  the cited rule for purposes of supporting a relationship between FBS and FCS football, it will not

  consider the NCAA’s unsupported conclusion for purposes of the motion to dismiss. [Dkt. 53 at

  11 n.5.]

         Third, the Court agrees with Mr. Rock that the NCAA’s reliance on Internet data from

  www.rivals.com and select football rosters is not appropriate to consider on its motion to dis-

  miss. While the NCAA points out that Mr. Rock cites data from www.rivals.com in his Second

  Amended Complaint, the factual allegations in Mr. Rock’s complaint must be taken as true for

  purposes of ruling on the NCAA’s motion to dismiss. Iqbal, 556 U.S. at 678 (holding that “for

  the purposes of a motion to dismiss we must take all of the factual allegations in the complaint as

  true”). Mr. Rock cites www.rivals.com in his Second Amended Complaint for one principle—

  that almost all of the athletes who received a Division I scholarship offer accepted that offer and

  that a majority of the rest opted out of playing college football rather than accept a scholarship at

  a Division II or an NAIA school. [Dkt. 46 at 9 ¶ 37, 10 ¶ 39.] While the Court must accept that

  factual allegation as true for purposes of ruling on the sufficiency of Mr. Rock’s operative com-

  plaint, the Internet statistics the NCAA cites in its briefs are not entitled to that same presump-

  tion. Likewise, the additional Internet statistics on which Mr. Rock relies in his response brief

  are not entitled to that presumption. Therefore, while the Court accepts as true the sole factual

  assertion Mr. Rock makes in his operative complaint based on the www.rivals.com data, it will



                                                 - 10 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 11 of 28 PageID #: 604



  not consider the additional Internet data presented by either of the parties in their briefs. That

  data, if authenticated, may be more appropriate on summary judgment.

         For these reasons, the Court grants in part Mr. Rock’s motion to exclude, [dkt. 54], and

  will not rely on or further discuss the excluded material detailed in this section.

         B. Antitrust Standing

         The NCAA challenges Mr. Rock’s antitrust standing to bring this action. [Dkt. 48 at 27-

  29.] Specifically, the NCAA argues that Mr. Rock’s claims should be dismissed because he

  “purports to challenge rules that only applied to student-athletes playing football for FBS institu-

  tions,” but he did not play FBS football and, thus, was not bound by those rules. [Id. at 27, 29.]

  The NCAA further alleges that Mr. Rock “cannot clear the first hurdle of antitrust standing: the

  [Second Amended Complaint] alleges no facts to demonstrate the necessary causal connection

  between the alleged antitrust violations and his alleged injury.” [Id. at 28.]

         In response, Mr. Rock points out that he is challenging the same NCAA bylaws that the

  Court already found he had standing to challenge in ruling on the NCAA’s previous motion to

  dismiss. [Dkt. 50 at 27-28.] He further argues that he has standing to challenge the FBS rules,

  even though they did not apply to him as an FCS student-athlete, because he alleges that FBS

  and FCS football are submarkets of the larger Division I football market. [Id. at 28.]

         15 U.S.C. § 15(a) provides that “any person who shall be injured in his business or prop-

  erty by reason of anything forbidden in the antitrust laws may sue therefor . . . .” But “not all

  persons who have suffered an injury flowing from [an] antitrust violation have standing to sue.”

  Kochert v. Greater Lafayette Health Servs., Inc., 463 F.3d 710, 716 (7th Cir. 2006). Instead,

  “only those parties who can most efficiently vindicate the purposes of the antitrust laws have an-

  titrust standing to maintain a private action.” Id.



                                                  - 11 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 12 of 28 PageID #: 605



         As the Court recognized in rejecting the NCAA’s antitrust standing argument in its first

  motion to dismiss Mr. Rock’s claims, the core of Mr. Rock’s claim is that without the NCAA

  bylaws he challenges, he would have received a multi-year scholarship and would not have in-

  curred subsequent expenses when his university did not renew his scholarship. [Dkt. 38 at 9-10.]

  Mr. Rock alleges that the coach who recruited him at Gardner-Webb promised Mr. Rock that as

  long as he remained eligible for athletic competition, his athletics-based scholarship would be

  renewed each year even if the coaching staff left. [Dkt. 46 at 17-18 ¶ 69.] He further alleges that

  because the NCAA prohibited Gardner-Webb from making a multi-year scholarship offer, his

  scholarship was later not renewed and he had to pay “thousands of dollars in tuition and room

  and board out of pocket” to graduate in May 2012 with a degree in political science. [Id. at 20 ¶

  80.] The Court concludes that Mr. Rock’s allegations are sufficient to establish standing at this

  stage of the proceedings because he alleges that without the applicable bylaws, he would not

  have incurred the identified economic expenses.

         As for the NCAA’s argument that Mr. Rock does not have standing to challenge bylaws

  governing the FBS because the school for which he played football was an FCS member, the

  NCAA ignores that Mr. Rock’s proposed complaint alleges that FBS and FCS are subdivisions

  of the relevant market he pleads and that the bylaws at issue affected the supply of scholarships

  in both divisions.3 [See, e.g., dkt. 46 at 7 ¶ 17, 10 ¶ 41.] Mr. Rock alleges that without the by-

  laws he challenges, he would have received more scholarship offers, including from FBS teams.

  [Id. at 10 ¶ 41.] While Mr. Rock may have a difficult time proving that allegation, the Second

  Amended Complaint identifies FBS schools that expressed an interest in recruiting Mr. Rock,

  [id. at 17 ¶ 69], and the Court will accept his allegation as true at this time. Accordingly, the

  3
    The Court ultimately finds Mr. Rock’s proposed relevant market plausible at this stage of the
  litigation. See infra, Part III.D.

                                                - 12 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 13 of 28 PageID #: 606



  Court concludes that Mr. Rock has alleged sufficient facts showing that he has antitrust standing

  to challenge the bylaws at issue.

          C. Commercial Activity

          The NCAA argues that Mr. Rock fails to allege commercial activity subject to the Sher-

  man Act in his Second Amended Complaint. [Dkt. 48 at 9-11.] Specifically, the NCAA con-

  tends that the operative complaint is “bereft of allegations that all Division I financial aid

  awards—or even the financial aid ‘transactions’ between Rock and Gardner-Webb University—

  are the stuff of antitrust inquiry.” [Id. at 10.]

          In response, Mr. Rock argues that the Second Amended Complaint sufficiently alleges

  commercial activity subject to the Sherman Act. [Dkt. 50 at 8.] He cites language from the Sev-

  enth Circuit’s opinion in Agnew as well as allegations in his complaint alleging the commercial

  nature of the exchange at issue. [Id. at 8-9 (citing dkt. 46 at ¶¶ 1, 6, 43, 57, 59, 60).]

          The Sherman Act “was intended for, and thus only applies to, commercial transactions.”

  Agnew, 683 F.3d at 338 (citing Apex Hosiery Co. v. Leader, 310 U.S. 469, 492-93 (1940)). Ag-

  new held that “[i]t is undeniable that a market of some sort is at play in this case. A transaction

  clearly occurs between a student-athlete and a university: the student-athlete uses his athletic

  abilities on behalf of the university in exchange for an athletic and academic education, room,

  and board.” 683 F.3d at 338. In analyzing whether that exchange is commercial in nature, the

  Seventh Circuit concluded that “[n]o knowledgeable observer could earnestly assert that big-time

  college football programs competing for highly sought-after high school football players do not

  anticipate economic gain from a successful recruiting program. Despite the nonprofit status of

  NCAA member schools, the transactions those schools make with premier athletes—full scholar-




                                                      - 13 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 14 of 28 PageID #: 607



  ships in exchange for athletic services—are not noncommercial, since schools can make millions

  of dollars as a result of these transactions.” Id. at 340.

          The NCAA argues that Agnew limited the commercial nature of the transaction to “big-

  time college football programs” and “premier athletes,” which it contends do not include FCS

  schools like where Mr. Rock played football. [Dkt. 48 at 10-11.] The Court does not read Ag-

  new so narrowly. While the Seventh Circuit provided an example of the extreme commercial

  nature of the exchange that occurs between “premier athletes” and schools that “can make mil-

  lions of dollars as a result of these transactions,” Agnew, 683 F.3d at 340, the NCAA ignores that

  one of the named plaintiffs in Agnew played football at an FCS school in exchange for an athlet-

  ics-based scholarship, and the Seventh Circuit did not find that transaction to be noncommercial.

          In this case, Mr. Rock alleges that he received an athletics-based scholarship to Gardner-

  Webb in exchange for the opportunity to earn a college scholarship and play football. [Dkt. 46 at

  17-18 ¶ 69.] The Court concludes that pursuant to Agnew, this is sufficient to allege a commer-

  cial transaction subject to the Sherman Act.

          D. Proposed Relevant Market

          The NCAA argues that Mr. Rock’s Second Amended Complaint should be dismissed be-

  cause he failed to allege facts to support his proposed relevant market. [Dkt. 48 at 11-24.] The

  NCAA’s argument contains three parts: 1) that all Division I NCAA football schools are not part

  of the same relevant market; 2) that Mr. Rock’s proposed market ignores substitute opportunities

  outside of Division I football; and 3) that Mr. Rock has failed to allege a geographic market.

                  i.      Applicable Case Law

          A successful claim under Section 1 of the Sherman Act requires proof of three elements:

  (1) a contract, combination, or conspiracy; (2) a resultant unreasonable restraint of trade in the



                                                   - 14 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 15 of 28 PageID #: 608



  relevant market; and (3) an accompanying injury. Denny’s Marina v. Renfro Prods., 8 F.3d

  1217, 1220 (7th Cir. 1993). “Most § 1 cases focus not on whether a relevant market exists, but

  on the other aspect of the second required showing—whether a restraint of trade in a given mar-

  ket was actually unreasonable.” Agnew, 683 F.3d at 335.

         Agnew teaches that Mr. Rock’s complaint must identify a “cognizable market” on which

  the NCAA’s actions could have had anticompetitive effects. 683 F.3d at 337-38. “[I]t is incum-

  bent on the plaintiff to describe the rough contours of the relevant commercial market in which

  anticompetitive effects may be felt . . . .” Id. at 345. A plaintiff may not evade the pleading re-

  quirements merely by asserting bare legal conclusions; instead, the facts must outline a violation

  of the Sherman Act—the plaintiff “‘will get nowhere merely by dressing them up in the language

  of antitrust.’” Banks v. National Collegiate Athletic Association, 977 F.2d 1081, 1093 (7th Cir.

  1992) (quoting Car Carriers v. Ford Motor Co., 745 F.2d 1101, 1106 (7th Cir. 1984)). “In de-

  fining a market, one must consider substitution both by buyers and by sellers.” Blue Cross &

  Blue Shield Un. of Wisc. v. Marshfield Clinic, 65 F.3d 1406, 1410 (7th Cir. 1995) (opinion after

  trial) (citing IIA Phillip E. Areeda, et al., Antitrust Law: An Analysis of Antitrust Principles and

  Their Application ¶ 530a (1995)).

         In Agnew, in the context of Division I football, the Seventh Circuit found it “undeniable

  that a market of some sort is at play in this case. A transaction clearly occurs between a student-

  athlete and a university: the student-athlete uses his athletic abilities on behalf of the university

  in exchange for an athletic and academic education, room, and board.” 683 F.3d at 338. There-

  fore, although “nothing resembling a discussion of a relevant market for student-athlete labor”

  could be found in the complaint at issue in Agnew, the Seventh Circuit held that “[t]he proper




                                                 - 15 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 16 of 28 PageID #: 609



  identification of a labor market for student-athletes . . . would meet plaintiffs’ burden of describ-

  ing a cognizable market under the Sherman Act.” Id. at 346 (emphasis added).

                   ii.     Market Including All Division I Football Schools

            The NCAA challenges Mr. Rock’s decision to plead a relevant market that includes both

  FBS and FCS schools—the two subdivisions that comprise Division I football. [Dkt. 48 at 12-

  18.] Specifically, it argues that Mr. Rock fails to address how prospective student-athletes

  “would regard all Division I [football] schools to be substitutes for one another.” [Id. at 12-13

  (original emphasis).]       The NCAA further contends that the Second Amended Complaint

  acknowledges differences between the team revenue, attendance, and stadium size of average

  FBS and FCS football teams. [Id. at 14-18 (referencing dkt. 46 at 8-9).] Thus, the NCAA con-

  cludes that Mr. Rock’s proposed market is overbroad and fails as a matter of law.

            Mr. Rock argues that the NCAA’s own structure, which classifies both FBS and FCS

  football schools as part of Division I, provides support for his proposed market including both of

  them. [Dkt. 50 at 12-13.] He claims that other courts have accepted similarly defined markets at

  this stage of the litigation, [id. at 13-14], and that markets based on quality distinctions are ac-

  ceptable, [id. at 14-19].

            The Court gives limited weight to Mr. Rock’s argument that other courts have “accepted”

  markets similar to the Division I football market he now proposes because the plaintiffs in those

  cases pled what would be an FBS-only market,4 not a full Division I football market. See White

  v. National Collegiate Athletic Ass’n, Case No. 2:06-cv-999-VBF-MAN, dkt. 72 (C.D. Cal. Sept.

  2006) (denying the NCAA’s motion to dismiss plaintiffs’ amended complaint pleading relevant

  market of Division I-A football, concluding that it was “legally sufficient” and alleged a relevant


  4
      FBS used to be called Division I-A. [Dkt. 48 at 17 n. 10.]

                                                  - 16 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 17 of 28 PageID #: 610



  product market “on its face” after “assuming all factual allegations to be true”); In re NCAA I-A

  Walk-on Football Players Litigation, 398 F. Supp. 2d 1144 (W.D. Wash. 2005) (denying

  NCAA’s motion to dismiss and holding that “given the procedural posture of this case,” plain-

  tiffs “are entitled to the opportunity to prove their allegation that there is a relevant market” of

  Division I-A football). But as the Seventh Circuit held in the context of Division I football in

  Agnew, it is “undeniable that a market of some sort is at play in this case.” 683 F.3d at 346.

  Thus, the Court must determine whether at this stage in the litigation, Mr. Rock’s allegations are

  at least plausible on their face to plead the rough contours of a relevant market.

         The Court agrees with Mr. Rock that the NCAA’s own structure classifying both FBS

  and FCS football as part of the same division supports his argument that those subdivisions could

  be part of the same overarching market of Division I football. It is undisputed that FBS and FCS

  teams can, and do, play against each other, [dkt. 53 at 11 n.5 (citing NCAA Bylaw 18.7.2.1.1)],

  and Mr. Rock alleges that he was recruited by both FBS and FCS schools, [dkt. 46 at 17-18 ¶

  69]. While Mr. Rock does not allege that he received scholarship offers from any FBS schools,

  an antitrust injury he pleads is that without the restrictions from the bylaws he challenges, he

  would have received additional scholarship offers including offers from FBS schools. [Id. at 10

  ¶ 41, 21 ¶ 81.]

         As for substitutability by buyers and sellers, the previous market Mr. Rock proposed (all

  NCAA schools, regardless of distinctions in division, sport offered by gender, or athletic suc-

  cess) was fatally overbroad even at the motion to dismiss stage because, for example, “a male

  football player is not a substitute for a female gymnast, and they do not compete with each other

  for an athletics-based scholarship on the same team.” [Dkt. 38 at 15.] But Mr. Rock has nar-

  rowed his proposed market to one sport in one division of the NCAA. The buyers of labor (the



                                                 - 17 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 18 of 28 PageID #: 611



  schools) are all members of NCAA Division I football and are competing for the labor of the

  sellers (the prospective student-athletes who seek to play Division I football). While there are

  undoubtedly quality distinctions between the top and bottom buyers as well as the top and bot-

  tom sellers that may ultimately reveal that Mr. Rock’s proposed market is still overbroad, the

  Court cannot conclude on this record that it is facially implausible. Accordingly, the Court re-

  jects the NCAA’s argument that Mr. Rock’s Second Amended Complaint must be dismissed be-

  cause the proposed relevant market is for Division I football.

                 iii.    Non-Division I Substitutes

         Alternatively, and somewhat contradictorily, the NCAA argues that Mr. Rock’s proposed

  relevant market is impermissibly small because it ignores substitute opportunities outside of Di-

  vision I football, such as Division II football or NAIA football.5 [Dkt. 48 at 18-24.] Specifical-

  ly, the NCAA argues that Mr. Rock has failed to adequately “allege facts to support [his] claim

  that Division I FBS and FCS football opportunities exist in a ‘market’ separate from the oppor-

  tunity to play” football elsewhere. [Id. at 19.] The NCAA claims that courts have rejected rele-

  vant markets based on price variances or product quality. [Id.]

         In response, Mr. Rock argues that courts have accepted relevant markets based on quality

  distinctions, particularly in sports. [Dkt. 50 at 14-16.] Mr. Rock attempts to distinguish the cas-

  5
    The NCAA again argues that professional football could be a plausible substitute for Division I
  football, [dkt. 48 at 18 n. 11], but the Court has previously rejected that argument because there
  has been no assertion that professional football offers an opportunity for the participant to obtain
  a bachelor’s degree, which is a key part of the market allegations at issue in this litigation, [dkt.
  38 at 15 n.6]. Likewise, it does not appear that junior colleges are a plausible substitute because
  as Mr. Rock alleges, and the NCAA does not dispute, unlike Division I schools, junior colleges
  cannot award bachelor’s degrees. [Dkt. 46 at 8 ¶ 26.] To the extent that the NCAA proposes
  Division III football as a potential substitute for Division I football, [dkt. 48 at 19], that argument
  fails because Division III schools abide by an NCAA bylaw, which the Court has already upheld
  as a matter of law, [dkt. 38 at 19-22], prohibiting them from awarding athletics-based scholar-
  ships. That is a material distinction for purposes of this litigation, given that Mr. Rock’s lawsuit
  revolves around obtaining athletics-based scholarships.

                                                  - 18 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 19 of 28 PageID #: 612



  es the NCAA cites because of the advanced procedural contexts in which they occurred, where

  the standard is less favorable to a plaintiff’s allegations. [Id. at 19.] Mr. Rock argues that the

  Second Amended Complaint adequately distinguishes Division I football from other opportuni-

  ties because, among other things, he alleges that the revenues in Division I football are higher,

  the rules permit more scholarships, the quality of competition and the level of institutional sup-

  port is higher, and the vast majority of athletes prefer Division I football to the other opportuni-

  ties. [Id. at 19-20.]

          Some courts have upheld relevant markets based on quality distinction in the sports con-

  text. For example, the plaintiff in Clarett v. National Football League challenged an NFL bylaw

  that prevented a player from joining the league until three years after his high school graduation.

  306 F. Supp. 2d 379 (S.D.N.Y. 2004), rev’d on other grounds 369 F.3d 124 (2d Cir. 2004) (re-

  versing district court based on existence of collective bargaining agreement but not expressing

  opinion on district court’s other legal conclusions). Mr. Clarett defined the relevant market in

  his case as the “NFL labor market for player services.” 369 F.3d at 401. In denying the NFL’s

  motion for summary judgment, the district court noted that “[a]lthough there are other profes-

  sional football leagues in North America—including the Arena Football League, the Arena

  Football League 2, the National Indoor Football League, and the Canadian Football League—the

  NFL dominates. . . . In short, the NFL represents an unparalleled opportunity for an aspiring

  football player in terms of salary, publicity, endorsement opportunities, and level of competi-

  tion.” Id. at 383-84, 403. With respect to interchangeability of use and cross-elasticity of de-

  mand for potential substitute products, Clarett held that “[t]he [NFL’s] suggestion that one of the

  other professional football leagues in North America is a fair substitute for the NFL cannot be




                                                 - 19 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 20 of 28 PageID #: 613



  taken seriously . . . [because] no football player would see the Arena League or the Canadian

  League as a reasonably good substitute for the NFL.” Id. at 407.

         In the context of professional boxing, the United States Supreme Court upheld a lower

  court’s finding after trial that a “separate, identifiable market” existed for “championship boxing

  contests” because “nonchampionship fights are not reasonably interchangeable for the same pur-

  pose as championship contests.” Int’l Boxing Club of N. Y., Inc. v. United States, 358 U.S. 242,

  250-51 (1959). As support, the Supreme Court cited the lower court’s findings that the average

  revenue from the championship fights was higher, the television rights brought in more revenue,

  the television ratings were higher, and other opportunities (such as full-length motion pictures)

  were available that were not available for nonchampionship fights. Id. at 250.

         Neither party directs the Court to a Seventh Circuit case upholding or rejecting a relevant

  market defined on a quality distinction in the context of amateur or professional sports.6 But Mr.

  Rock’s assertion that Division I football is distinctly superior to Division II football or the NAIA

  finds at least some support in case law. The United States Supreme Court noted the superior

  competition in Division I football, as opposed to Division II and Division III, at least with re-

  spect to what is now FBS football. See Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ.

  of Oklahoma, 468 U.S. 85, 118 (1984) (noting that “[t]here is no evidence of any intent to equal-

  ize the strength of teams in Division I-A with those in Division II or Division III”). And at least

  one district court concluded after a trial on the merits that the NAIA “share[s] many of the attrib-

  6
    In fact, the majority of cases the NCAA cites involve market definition analysis in the context
  of an injunction, summary judgment, or after trial. The procedural context of those cases does
  not assume the truth of a plaintiff’s factual allegations and, instead, requires a plaintiff to present
  evidence in support of his claims. See, e.g., Hammel v. Eau Galle Cheese Factory, 407 F.3d
  852, 859 (7th Cir. 2005) (“Summary judgment is not a dress rehearsal or practice run; it is the
  put up or shut up moment in a lawsuit, when a party must show what evidence it has that would
  convince a trier of fact to accept its version of the events.”). Thus, those cases are of limited use
  at this stage of the litigation.

                                                  - 20 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 21 of 28 PageID #: 614



  utes of Division II and III NCAA schools” but that it “is not a realistic option” to Division I

  men’s intercollegiate athletics. See Ass’n for Intercollegiate Athletics for Women v. Nat’l Colle-

  giate Athletic Ass’n, 558 F. Supp. 487, 497 (D.D.C. 1983) aff’d 735 F.2d 577 (D.C. Cir. 1984)

  (“It is only from [the] NCAA that necessary services and benefits for conduct of a Division I

  men’s intercollegiate athletic program are available to institutions. The only other organization

  offering men’s intercollegiate governance, as opposed to open amateur governance, is the NAIA.

  NAIA is not a realistic option: it offers neither Division I caliber program[s] nor the direct and

  indirect financial rewards of NCAA membership. It has no network television contracts and its

  member schools do not run spectator oriented programs.”).7

         In the Second Amended Complaint, Mr. Rock alleges that Division I football programs

  “compete at the highest level of the college sport” and that Division II and NAIA programs are

  not in the relevant market because they are not reasonable substitutes. [Dkt. 46 at 7 ¶ 19, ¶ 21, at

  8 ¶ 25.] In support of that conclusion, Mr. Rock alleges the following facts, which must be ac-

  cepted as true for purposes of ruling on the NCAA’s motion to dismiss:

             •   Almost all student-athletes who receive a Division I football scholarship
                 offer accept that offer and most of the rest opt out of playing college foot-
                 ball rather than accept a scholarship at a Division II or an NAIA football
                 school. [Dkt. 46 at 9 ¶ 37, 10 ¶ 39.]




  7
    Of course it is possible that the commercial realities of the marketplace have changed since the
  statements cited in this paragraph were made, but these post-trial court findings lend plausibility
  to Mr. Rock’s allegation at this stage of the litigation that neither Division II football nor NAIA
  football are adequate substitutes for Division I football.
                                                 - 21 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 22 of 28 PageID #: 615



             •   Division I football programs generate more revenue compared to Division
                 II or NAIA programs, which allows the Division I programs to provide
                 superior opportunities to its student-athletes.8 [Id. at 7 ¶ 20, 8 ¶¶ 28-31.]

             •   Division I football programs get more attendance than Division II or
                 NAIA programs. [Id. at 46-47 ¶¶ 32-35.]

             •   Division I programs have a higher quality of competition and higher level
                 of institutional support over Division II or NAIA schools. [Id. at 9 ¶ 36.]

             •   Division I football programs are allowed to award more scholarships than
                 Division II or NAIA programs, so more players receive full scholarships
                 in Division I football programs. [Id. at 7 ¶ 18 (85 scholarships for FBS
                 teams and 63 for FCS teams), 7 ¶ 22 (36 scholarships for Division II), 8 ¶
                 25 (24 scholarships for NAIA).]

         The cited case law recognizes that, at least in the context of sports, some courts have ac-

  cepted a relevant market definition based on a quality distinction of one league over another, par-

  ticularly where that distinction results in increased revenue and opportunities for the participants.

  Mr. Rock alleges that Division I football is that type of market, and he provides factual allega-

  tions that must be accepted as true regarding the superior competition, institutional support,

  overall preference, higher revenue, and more scholarship opportunities provided in Division I

  football, as opposed to Division II or NAIA football. Accordingly, the Court concludes that Mr.

  Rock’s Second Amended Complaint contains sufficient factual allegations supporting his posi-

  tion that Division II and NAIA football are not adequate substitutes for Division I football and,

  thus, not part of the same relevant market.



  8
    The NCAA argues that “there is not a simple bright line dividing FCS and non-Division I foot-
  ball opportunities” based on their respective revenues. [Dkt. 48 at 16.] But the Court cannot
  make that determination as a matter of law on a motion to dismiss. In other words, even if the
  NCAA is correct that some FCS teams generate revenue similar to successful Division II
  schools, [id. at 16-17], Mr. Rock alleges that additional benefits come with being part of Divi-
  sion I football, and the Court will accept that allegation as true for purposes of ruling on the
  pending motion.


                                                 - 22 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 23 of 28 PageID #: 616



                 iv.     Geographic Market

         The NCAA argues that Mr. Rock failed to make any factual allegations to support his

  conclusion that the geographic market for his proposed relevant market is the United States.

  [Dkt. 48 at 24-25.] Specifically, the NCAA contends that “[c]ommon sense suggests that Divi-

  sion I football student-athletes, like most college students, would consider geography in choosing

  which college to attend.” [Id. at 24.]

         Mr. Rock points out that his Second Amended Complaint expressly alleges that the “‘rel-

  evant geographic market is the United States. All Division I football teams are located in the

  U.S. As a uniquely American sport, 99.9% of all Division I football players are from the United

  States.’” [Dkt. 50 at 24-25 (quoting dkt. 46 at 10 ¶ 42).]

         The Court agrees with Mr. Rock that he has sufficiently alleged a relevant geographic

  market in the Second Amended Complaint. Specifically, he alleges that the relevant geographic

  market is the United States and provides supporting factual allegations to support that legal con-

  clusion, specifically that 99.9% of all Division I football players are from the United States. Be-

  cause that factual allegation is facially plausible—the NCAA is, in fact, the National Collegiate

  Athletic Association—it must be assumed as true at this stage of the litigation. Accordingly, the

  Court finds that Mr. Rock has pled a relevant geographic market sufficient to survive the

  NCAA’s motion to dismiss.

                 v.      Conclusion Regarding Mr. Rock’s Market Allegations

         To summarize, Agnew held that it is a plaintiff’s burden to plead the “rough contours of

  the relevant commercial market in which anticompetitive effects may be felt . . . .” 683 F.3d at

  345. And in the context of Division I football, the Seventh Circuit found it “undeniable that a

  market of some sort is at play in this case.” Id. at 346. Because the complaint at issue in Agnew



                                                 - 23 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 24 of 28 PageID #: 617



  contained “nothing resembling a discussion of a relevant market for student-athlete labor,” id. at

  347, the Seventh Circuit did not specifically opine on the appropriate relevant market or what

  allegations would be necessary to plead it.

         After accepting the factual allegations of Mr. Rock’s Second Amended Complaint as

  true, which it must do in ruling on the NCAA’s motion to dismiss, the Court finds that Mr. Rock

  has pled the rough contours of a relevant market that is plausible on its face. Specifically, the

  NCAA’s structure classifying FBS and FCS football as part of the same division, the interaction

  between the FBS and FCS subdivisions, and Mr. Rock’s assertions regarding his recruiting expe-

  rience and the alleged anticompetitive effects of the challenged rules on both subdivisions per-

  suade the Court that given the procedural posture of the case, the market as plead is facially plau-

  sible. Moreover, Mr. Rock has alleged adequate factual allegations supporting his argument that

  Division II and NAIA football are not reasonable substitutes for Division I football and, thus, not

  part of the same relevant market.

         The Court emphasizes that these conclusions are not an endorsement that Mr. Rock’s

  market as pled will withstand the higher burdens of proof that accompany summary judgment or

  trial, where his factual allegations will not be accepted as true without supporting evidence. In-

  stead, the Court concludes that Mr. Rock has alleged sufficient factual allegations that, when

  taken as true as the Court must do, plead the rough contours of a relevant market that is plausible

  on its face. Whether Mr. Rock can gather enough evidence to prove that the relevant market he

  pleads is correct is a question for another day.

         E. Anticompetitive Effect

         The NCAA argues that even if Mr. Rock has alleged sufficient facts to plead a relevant

  market, his claim still fails because the Second Amended Complaint does not allege that the by-



                                                     - 24 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 25 of 28 PageID #: 618



  laws at issue have caused injury to competition as a whole in the relevant market.9 [Dkt. 48 at

  25.] The NCAA maintains that Mr. Rock has not changed his anticompetitive effect allegations

  since his previous complaint, which the Court found to be insufficient, and that “[t]here are

  simply no factual allegations in the [Second Amended Complaint] sufficient to demonstrate that

  these bylaws had an adverse, market-wide impact on the price or output of any commercial

  product.” [Id. at 26; dkt. 53 at 6-8.]

          Mr. Rock points to various allegations in the Second Amended Complaint that he con-

  tends adequately plead a market-wide anticompetitive effect. [Dkt. 50 at 25-26 (citing various

  paragraphs of dkt. 46).] Specifically, Mr. Rock emphasizes that he alleges that the bylaws at is-

  sue limit the number and distribution of Division I football scholarships and that, as a result, the

  student-athletes in the market received less for their labor than they would have received without

  the restrictions. [Id.]

          For a civil litigant to show antitrust injury, he must show injuries that reflect the anticom-

  petitive effect of either the violation or the anticompetitive acts made possible by the violation.

  James Cape & Sons Co. v. PCC Const. Co., 453 F.3d 396, 399 (7th Cir. 2006). Failure to in-

  clude sufficient allegations of anticompetitive effects that would result or have resulted from the

  defendant’s actions is ordinarily fatal to an antitrust claim. Car Carriers, Inc. v. Ford Motor Co.,

  745 F.2d 1101, 1107 (7th Cir. 1984). “Thus, the plaintiff must allege, not only an injury to him-

  self, but an injury to the market as well.” Id. Conclusory statements must be accompanied by

  supporting factual allegations in order to survive a motion to dismiss. Id.



  9
    Although the NCAA “respectfully continues to assert” that the bylaws at issue are “presump-
  tively procompetitive,” [dkt. 48 at 25 n.22], the Court again rejects that argument based on Ag-
  new, [dkt. 38 at 7 n.3 (citing 683 F.3d at 345 (holding that the bylaws at issue “cannot be deemed
  procompetitive at the motion-to-dismiss stage”))].

                                                  - 25 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 26 of 28 PageID #: 619



         The NCAA highlights the Court’s conclusion in granting the NCAA’s previous motion to

  dismiss that Mr. Rock’s prior complaint “failed to adequately allege anticompetitive effects in

  their market as pled.” [Dkt. 38 at 19.] The NCAA emphasizes that Mr. Rock’s current anticom-

  petitive effect allegations are “almost identical” to the allegations of his previous complaint,

  thus, the NCAA contends that they still must be insufficient. [Dkt. 53 at 6-7.] But even though

  Mr. Rock’s anticompetitive effect allegations are similar to what he previously pled, the relevant

  market he now pleads (Division I football) is significantly more narrow than the market he pre-

  viously pled (all NCAA divisions and sports). Thus, the Court’s conclusion that his previous

  complaint did not adequately allege anticompetitive effects in the “market as pled” is not disposi-

  tive because, unlike its previous order, the Court has concluded that the relevant market allega-

  tions in Mr. Rock’s Second Amended Complaint are sufficient to withstand the NCAA’s motion

  to dismiss.

         Ultimately, the Court agrees with Mr. Rock that his Second Amended Complaint ade-

  quately pleads anticompetitive effects of the challenged bylaws in the relevant market as pled

  (Division I football). Mr. Rock alleges that without the bylaws at issue, he would have received

  additional scholarship offers, including offers for multi-year scholarships. [Id. at ¶¶ 81, 83.] As

  support for his allegations, the Second Amended Complaint sets forth several comments made by

  representatives from member institutions in favor of maintaining the prohibition on multi-year

  scholarships in order to prevent “bidding wars” over prospective student-athletes, which would

  force the schools to “compete” for recruits by “making the best deal . . . [i]n order to be competi-

  tive.” [Id. at 14-15 ¶ 59.] As for the cap on the total number of available scholarships, Mr. Rock

  alleges that the typical NCAA football squad has 100 players but that the bylaws limit the num-

  ber of full scholarships that FBS and FCS schools can award to a smaller number. [Id. at 7 ¶ 18



                                                 - 26 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 27 of 28 PageID #: 620



  (85 full scholarships allowed for FBS teams and 63 allowed for FCS teams), ¶ 22 (typical NCAA

  college football squad has 100 players).] Ultimately, Mr. Rock alleges that without those re-

  strictions capping the number of allowable scholarships, the overall supply of scholarships would

  increase and the prospective student-athletes in the market would receive more financial aid. [Id.

  at 21 ¶ 82.]

         Based on these allegations, which the Court must accept as true at this time, Mr. Rock

  has sufficiently alleged that the bylaws he challenges resulted in anticompetitive effects that in-

  jured his proposed market as a whole. Accordingly, the Court rejects the NCAA’s argument to

  the contrary.

                                                 IV.
                                            CONCLUSION

         For the reasons stated herein, Mr. Rock’s Motion Pursuant to Federal Rule of Civil Pro-

  cedure 12(d) to Exclude Portion of the NCAA’s Reply Brief or Convert to Motion for Summary

  Judgment and Allow Discovery is GRANTED IN PART, [dkt. 54], and the NCAA’s Motion to

  Dismiss is DENIED, [dkt. 47]. Because the Court did not feel that oral argument was necessary

  to reach these conclusions, the NCAA’s Motion for Oral Argument is DENIED. [Dkt. 49.] The

  Court requests that the Magistrate Judge hold a status conference with the parties at her earliest

  convenience to establish a case management plan.


             08/16/2013
                                                            _______________________________

                                                              Hon. Jane Magnus-Stinson, Judge
                                                              United States District Court
                                                              Southern District of Indiana




                                                - 27 -
Case 1:12-cv-01019-TWP-DKL Document 58 Filed 08/16/13 Page 28 of 28 PageID #: 621



  Distribution via ECF only:

  Steve W. Berman
  HAGENS BERMAN SOBOL SHAPIRO LLP
  steve@hbsslaw.com

  Gregory L. Curtner
  SCHIFF HARDIN, LLP - Michigan
  gcurtner@schiffhardin.com

  Elizabeth A. Fegan
  HAGENS BERMAN SOBOL SHAPIRO, LLP
  beth@hbsslaw.com

  Kimberly K. Kefalas
  SCHIFF HARDIN, LLP - Michigan
  kkefalas@schiffhardin.com

  Kathy Lynn Osborn
  FAEGRE BAKER DANIELS LLP - Indianapolis
  kathy.osborn@faegrebd.com

  Stuart McKinley Paynter
  The Paynter Law Firm PLLC
  stuart@smplegal.com

  William N. Riley
  PRICE WAICUKAUSKI & RILEY
  wriley@price-law.com

  Jessica A. Sprovstoff
  SCHIFF HARDIN, LLP - Michigan
  jsprovtsoff@schiffhardin.com

  Suzanne L. Wahl
  SCHIFF HARDIN, LLP - Michigan
  swahl@schiffhardin.com

  Robert James Wierenga
  SCHIFF HARDIN, LLP - Michigan
  rwierenga@schiffhardin.com

  Joseph N. Williams
  PRICE WAICUKAUSKI & RILEY
  jwilliams@price-law.com



                                      - 28 -
